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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  SYMBOLOGY INNOVATIONS, LLC
                                               C.A. No. 2:15-cv-01169-JRG-RSP
              Plaintiff,                       LEAD CASE
        v.

  PNY TECHNOLOGIES, INC.,                      C.A. No. 2:15-cv-01870-JRG-RSP
              Defendant.



        DEFENDANT PNY TECHNOLOGIES, INC.’S MOTION TO DISMISS, OR
             ALTERNATIVELY FOR MORE DEFINITE STATEMENT
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            Defendant PNY Technologies, Inc. (“PNY”) respectfully requests the Court dismiss the

  indirect infringement claims of Plaintiff Symbology Innovations, LLC (“Symbology”), as set

  forth in Symbology’s complaint (DE 1), for failure to state a claim. Alternatively, PNY requests

  that the Court order Symbology to provide a more definite statement of its indirect infringement

  claims.

                                       I.      INTRODUCTION

            Symbology’s indirect infringement claims against PNY are fatally deficient.

  Symbology’s complaint against PNY makes the bare assertion that “Defendant has infringed and

  continues to infringe . . . through acts of contributory infringement or inducement in violation of

  35 U.S.C. § 271.” DE 1 at ¶¶ 13, 23, 33. The complaint includes no other allegations related to

  indirect infringement. The complaint includes no allegations of knowledge of U.S. Patent Nos.

  8,424,752 (the “’752 Patent”), 8,651,369 (the “’369 Patent”), or 8,936,190 (the “’190 Patent”)

  (collectively, the “Asserted Patents”), nor any allegations of direct infringement by a third party.

  The complaint recites no acts of active inducement by PNY, no allegations that the accused

  components are especially made for use in infringement, and no assertions that the accused

  components have no substantial non-infringing use. Symbology does not allege the requisite

  elements of inducement and contributory infringement, let alone sufficient facts to support such

  allegations. Accordingly, Symbology’s indirect infringement claims cannot stand as currently

  alleged.

                                 II.        ISSUES TO BE DECIDED

            1.    Whether the induced infringement claims in Counts I-III of the complaint fail to

  state a claim upon which relief may be granted.

            2.    Whether the contributory infringement claims in Claims I-III of the complaint fail

  to state a claim upon which relief may be granted.


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                                       III.    BACKGROUND

         Symbology filed its complaint against PNY on November 24, 2015, alleging direct,

  induced, and contributory infringement of the Asserted Patents. DE 1 at ¶¶ 8-37.

         For its induced and contributory infringement claims, Symbology merely repeats the

  following two paragraphs:

         Upon information and belief, Defendant has infringed and continues to infringe
         one or more claims, including at least Claim 1, of the [Asserted Patents] by
         making, using, and/or printing Quick Response Codes (QR codes) covered by one
         or more claims of the [Asserted Patents]. Defendant has infringed and continues
         to infringe the [Asserted Patents] either directly or through acts of contributory
         infringement or inducement in violation of 35 U.S.C. § 271.

         On information and belief, Defendant has, at least through internal testing, made,
         used, and/or printed QR codes on printed and/or electronic media, including
         advertising and packaging, associated with select products and/or services. One
         specific example of Defendant’s activity involves the use of QR codes on
         packaging associated with its flash memory card products. A user scanning the
         QR Code is provided with information about the product including, for example,
         product specifications and purchase information. Upon being scanned, the QR
         code remotely transmits information regarding the product to the user via a
         device, such as a smart phone, for example. The use of QR codes in this manner
         infringes at least Claim 1 of the [Asserted Patents].

  Id. at ¶¶ 13-14, 23-24, 33-34. These paragraphs are no more than naked assertions of induced

  and contributory infringement. They do not allege the required legal elements for induced and

  contributory infringement, let alone specific facts to support such allegations.

                                    IV.       LEGAL STANDARD

         Claims for indirect infringement must be judged by the pleading standards articulated in

  Twombly and Iqbal. In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F .3d

  1323, 1337 (Fed. Cir. 2012) (“[W]e must look to Supreme Court precedent for guidance

  regarding the pleading requirements for claims of indirect infringement.”). To state a valid

  claim, a complaint must include a “short and plain statement of the claim showing that the

  pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), and must allege specific facts in support of


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  each such claim. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the

  elements of a cause of action, supported by mere conclusory statements, do not suffice.”); Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) (finding that a “naked assertion” of wrongdoing

  without “factual enhancement” does not state a claim). The purpose of this threshold pleading

  standard is twofold: (1) to show that the plaintiff has some reasonable basis for its allegations;

  and (2) to put the defendant on “fair notice” of the claims at issue. See Iqbal, 556 U.S. at 698;

  Twombly, 550 U.S. at 555 (explaining a complaint must “give the defendant fair notice of what

  the . . . claim is and the grounds upon which it rests” (citation omitted)).

         A claim for induced infringement under 35 U.S.C. § 271(b) requires proof: (1) of an act

  of direct infringement by another; and (2) that the defendant knowingly induced the infringement

  with the specific intent to encourage the other’s infringement. MEMC Elec. Materials, Inc. v.

  Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005). The intent element

  requires that the defendant “[know] that the induced acts constitute patent infringement.”

  Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011); see also DSU Med.

  Corp. v. JMS Co. Ltd., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (“[I]nducement requires ‘that the

  alleged infringer knowingly induced infringement and possessed specific intent to encourage

  another’s infringement.’”). Thus, in order to survive a motion to dismiss, the complaint must (1)

  adequately plead direct infringement by defendant’s customers, (2) contain facts plausibly

  showing that defendant specifically intended for its customers to infringe the asserted patents,

  and (3) contain facts plausibly showing that defendant knew that the customer’s acts constituted

  infringement. See Bill of Lading, 681 F.3d at 1339.

         A claim for contributory infringement under 35 U.S.C. § 271(c) requires proof: (1) of an

  act of direct infringement; (2) that the defendant “knew that the combination for which its




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  components were especially made was both patented and infringing”; and (3) that the

  components have “no substantial non-infringing uses.” Cross Med. Prods., Inc. v. Medtronic

  Sofamor Danek, Inc., 424 F.3d 1293, 1312 (Fed. Cir. 2004). A complaint fails to properly plead

  a claim of contributory infringement if it does not contain sufficient facts from which the Court

  may conclude that the claim is plausible. Bill of Lading, 681 F.3d 1337.

         Here, Symbology simply makes bare assertions of induced and contributory

  infringement. Symbology asserts no facts from which the Court may conclude the claims are

  plausible.

                                        V.      ARGUMENT

         A.      Symbology’s Complaint Contains No Allegations of Knowledge of the
                 Asserted Patents Nor Allegations of Direct Infringement by a Third Party

         Symbology’s complaint omits two required elements for an indirect infringement claim—

  knowledge of the Asserted Patents and direct infringement by a third party. Without these

  allegations Symbology has no plausible claim for indirect infringement because there are simply

  no facts in the complaint to support these claims.

         Symbology’s complaint includes no allegations related to knowledge of the Asserted

  Patents. “Absence of knowledge is a fatal flaw in a claim for indirect infringement.” Aguirre v.

  Powerchute Sports, LLC, No. SA-10-CV-702-XR, 2011 WL 3359554, at *5 (W.D. Tex. Aug. 4,

  2011) (dismissing indirect infringement claims where complaint “did not allege [defendant] had

  knowledge as to either of the forms of indirect patent infringement”). Symbology asserts that

  “[PNY] has infringed and continues to infringe the [Asserted Patents] either directly or through

  acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.” DE 1 ¶¶ 13,

  23, 33 (emphasis added). This allegation implies that Symbology is claiming pre-suit indirect

  infringement. But, Symbology fails to allege any knowledge of the Asserted Patents—pre-suit or



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  post-suit—to support its claims of indirect infringement. Thus, PNY “and the Court must

  speculate as to the extent and scope of [Symbology’s] [indirect] infringement claim. Such

  allegations are not sufficient to satisfy the pleading standard established in Iqbal and Twombly.”

  Affinity Labs of Texas, LLC v. Toyota Motor N Am., No. 13-cv-365, 2014 WL 2892285, at *4

  (W.D. Tex. May 12, 2014).

         Similarly, Symbology’s complaint fails to identify any direct acts of infringement by a

  third party. Although the complaint does reference a “user” of PNY’s flash memory card

  products and packaging, this “user” is referenced in the context of PNY’s alleged direct

  infringement, not the user’s:

         One specific example of Defendant’s activity involves the use of QR Codes on
         packaging associated with its flash memory card products. A user scanning the
         QR Code is provided with information about the product including, for example,
         product specifications and purchase information. Upon being scanned, the QR
         code remotely transmits information regarding the product to the user via a
         device, such as a smart phone, for example. The use of QR codes in this manner
         infringes at least Claim 1 of the [Asserted Patents].

  DE 1 at ¶¶ 14, 24, 34 (emphasis added). Thus, Symbology alleges that PNY’s activities, i.e. the

  transmission of information to the user when the QR Code is scanned, directly infringes the

  Asserted Patents. Symbology never alleges what acts by the user result in direct infringement.

  Thus, PNY has no “fair notice of what [Symbology’s indirect infringement] claim is and the

  grounds upon which it rests.” Twombly, 550 U.S. at 555.

         Without any allegations relating to knowledge of the Asserted Patents and direct

  infringement by a third party, Symbology’s indirect infringement claims are legally deficient and

  must be dismissed.




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         B.      Symbology’s Complaint Does Not Allege the Other Elements of Induced
                 Infringement

         In addition to Symbology’s failure to allege knowledge of the Asserted Patents and direct

  infringement by a third party, Symbology’s inducement claim fails to recite the other elements of

  induced infringement. Specifically, Symbology fails to allege that PNY had the specific intent to

  induce a third party’s actions, and knowledge that those actions constituted infringement.

         This Court has dismissed indirect infringement claims that included far more detail than

  Symbology’s claims here. For example, In Core Wireless Licensing v. Apple Inc., the Court

  considered a complaint that alleged that the defendant “provides instructive materials and

  information concerning operation and use of the accused products.” No. 6:14-CV-752-JRG-

  JDL, 2015 WL 4910427, at *4 (E.D. Tex. Aug. 13, 2015). The Court found these factual

  allegations insufficient to support a claim of inducement—“generic allegations that an alleged

  infringer provides instructional materials along with the accused products, without more, are

  insufficient to create a reasonable inference of specific intent for the purposes of an induced

  infringement claim.” Id.

         Here, Symbology does not allege any facts that establish a plausible inference that PNY

  had the specific intent to induce its customer’s actions (nor does Symbology identify those

  customer’s action). Symbology identifies no instructional materials or guides, or any other acts

  by PNY that would direct its customer’s actions. Therefore, as in Core Wireless, Symbology’s

  induced infringement claim must be dismissed.

         C.      Symbology Does Not Allege the Other Elements of Contributory
                 Infringement

         Similar to Symbology’s induced infringement claims, Symbology’s allegations of

  contributory infringement omit required elements. Specifically, Symbology fails to allege that




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   the accused components are especially made for use in infringement and that the accused

   components have no substantial non-infringing uses.

          In U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc., the complaint included

   allegations that the accused products “embody the patented invention” and “customers who

   purchase systems and components thereof and operate such systems and components thereof in

   accordance with [defendant’s] instructions directly infringe one or more claims.”           No.

   6:12cv366-MHS-JDL, 2013 WL 8482270, at *4 (E.D. Tex. Mar. 6, 2013). The plaintiff argued

   that an inference of “no substantial non-infringing use” could be taken from these allegations.

   This Court rejected that argument, holding that those allegations “do not alone create a

   reasonable inference that the accused components have no substantial non-infringing use.” Id.

          Here, the complaint is even more deficient. Symbology’s complaint does not identify

   any third party acts of direct infringement, let alone allege any facts that would lead to a

   reasonable inference that such acts have no substantial non-infringing alternatives. Thus, as in

   U.S. Ethernet Innovations, Symbology’s contributory infringement claim must be dismissed.

                                       VI.    CONCLUSION

          For the foregoing reasons, PNY respectfully requests the Court dismiss Symbology’s

   indirect infringement claims. Alternatively, PNY respectfully requests that the Court order

   Symbology to provide a more definite statement of its indirect infringement claims.




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   DATED: February 16, 2016
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                                  CERTIFICATE OF SERVICE

           The undersigned certifies that on this 16th day of February, 2016, all counsel of record
   who are deemed to have consented to electronic service are being served with a copy of this
   document through the Court’s CM/ECF system under Local Rule CV-5(a)(3). Any other counsel
   of record will be served by a facsimile transmission and/or first class mail.

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